    Case 1:19-cv-02379-KBJ Document 1-12 Filed 08/07/19 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                  Exhibit L
             Case 1:19-cv-02379-KBJ Document 1-12 Filed 08/07/19 Page 2 of 4


                               0Lnn9rc11s of tl7c l!tnitch �fates
                                          lltila.a!Jington,     mm 20515




                                                  March 25, 2019

The Honorable William P. Barr
Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

Dear Attorney General Barr:

        Your March 24 letter concerning Special Counsel Mueller's report leaves open many
questions concerning the conduct of the President and his closest advisors, as well as that of the
Russian government during the 2016 presidential election. Accordingly, we formally request
that you release the Special Counsel's full report to Congress no later than Tuesday, April 2. We
also ask that you begin transmitting the underlying evidence and materials to the relevant
committees at that time.

        As you know, on March 14, the full House of Representatives approved H. Con. Res. 24,
calling for the release of the Special Counsel's report by ·a vote of 420-0. 1 Each of our
committees is currently engaged in oversight activities that go directly to the President's conduct,
his attempts to interfere with federal and congressional investigations, his relationships and
communications with the Russian government and other foreign powers, and/or other alleged
instances of misconduct.

        Your four-page summary of the Special Counsel's review is not sufficient for Congress,
as a coequal branch of government, to perform this critical work. The release of the full report
and the underlying evidence and documents is urgently needed by our committees to perform
their duties under the Constitution. Those duties include evaluating the underlying facts and
determining whether legislative or other reforms are required-both to ensure that the Justice



1
    Roll Call Vote No. 125, 116th Cong., Mar. 14, 2019.




                                                PRINTED ON RECYCLED PAPER
          Case 1:19-cv-02379-KBJ Document 1-12 Filed 08/07/19 Page 3 of 4




Depai1ment is able to carry out investigations without interference or obstruction by the
President and to protect our future elections from foreign interference.

        First, Congress must be permitted to make an independent assessment of the evidence
regarding obstruction of justice. The determinations you have reached regarding obstruction and
the manner in which you chose to characterize the Special Counsel's investigation only raise
fm1her questions, particularly in light of the Special Counsel's decision to refrain from making
"a traditional prosecutorial judgment."2 We also cannot evaluate your determination that "the
report identifies no actions" that meet the elements of obstruction in the absence of the report,
evidence and other materials. 3

       Second, we have no reason to question that Special Counsel Mueller made a well­
considered prosecutorial judgment in two specific and narrow areas-whether the Trump
campaign conspired to join Russia's election-related online disinformation and hacking and
dissemination efforts. But it is vital for national security purposes that Congress be able to
evaluate the full body of facts and evidence collected and evaluated by the Special Counsel,
including all information gathered of a counterintelligence nature.

        The provision of the report-in complete and unredacted form-and the underlying
evidence and materials would be fully consistent with the Justice Department's practice and
precedent with Congress, which the Department reinforced in recent years. With respect to the
Hillary Clinton email investigation, the Department and the FBI released more than 880,000
pages of documents, publicly identified career officials involved in the case, and produced
volumes of internal deliberative materials, including sensitive investigatory and classified
materials. 4 In response to congressional requests and subpoenas regarding allegations of bias in
the Russia investigation, the Department produced to congressional committees thousands of
pages of highly sensitive law enforcement and classified investigatory and deliberative records
related to that investigation-which remained open and ongoing at the time. Mo.reover, the
Department produced to congressional committees in full, and then took the unprecedented step
of releasing to the public in redacted form, multiple documents related to the surveillance of a
United States person under the Foreign Intelligence Surveillance Act. 5



2
 Letter from U.S. Attorney General William Barr to Chairman Jerrold Nadler, H. Comm. on the Judiciary, et al.,
Mar. 24, 2019.
3   Id.
4 See, e.g., A Review ofAllegations Regarding Various Actions by the Federal Bureau ofInvestigation and

Department ofJustice in Advance ofthe 2016 Election, hearing before the H. Comm. on the Judiciary, June 28,
2018 (statement of FBI Director Christopher Wray).
5
  Byron Tau, et al., Trump Orders Declassification ofIntelligence Documents Related to Former Adviser Carter
Page, WALL ST. JOURNAL, Sept. 17, 2018.

                                                        2
           Case 1:19-cv-02379-KBJ Document 1-12 Filed 08/07/19 Page 4 of 4




        We look forward to receiving the report in full no later than April 2, and to begin
receiving the underlying evidence and documents that same day.6 To the extent that you believe
applicable law limits your ability to comply, we urge you to begin the process of consultation
with us immediately in order to establish shared param�ters for resolving those issues without
delay.

                                               Sincerely,




                                                                               l�jah E. Cumnung
              Chairman                                                             Chairman
     House Committee on the Judiciary                             House Committee on Oversight and Reform




                                                                                Maxine Waters
            Chairman                                                            Chairwoman
House Permanent Select Committee on Intelligence                      House Committee on Financial Services




                                                                      ,�El:·L!g�
              Chairman                                                           Chairman
    House Committee on Ways and Means                                  House Committee on Foreign Affairs




6
  As to materials that are subject to Rule 6(e) of the Federal Rules of Criminal Procedure, there is precedent for the
release of such materials to Congress under similar circumstances. We look forward to discussing this issue to
determine if we can reach a mutually acceptable accommodation.

                                                            3
